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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 IN RE:                                   )
                                          )     Case No. 16-48887
 MICHAEL & CELESTIA MARTIN,               )
                                          )     Chapter 13 Bankruptcy
      Debtors,                            )
                                          )
 U.S. BANK, N.A.,                         )
                                          )
      Movant.                             )

                         ANSWER TO NOTICE OF BREACH

      COMES NOW Debtors, by and through undersigned counsel, and

 for this Answer to Notice of Breach, state to this Court as

 follows:

   1. Debtors and Movant entered into a Stipulation Agreement on

       May 8, 2018, wherein Debtors agreed to pay a delinquency of

       $1,141.16, minus a payment of $390.00, over a period of

       three months.

   2. On December 26, 2018, Movant filed a Notice of Default,

       stating that Debtors had fallen behind in payments.

   3. Debtors are making an effort to remit payments to Movant.

   4. Debtors request this Court deny Movant’s Notice of Default.

      WHEREFORE, Debtors pray Movant’s Notice of Default be

 denied, and for whatever other relief this Court may deem just

 and proper.
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                                           /s/Robert E. Faerber
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                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing
 document was filed electronically on January 2, 2019, with the
 United States Bankruptcy Court, and has been served on the
 parties in interest via e-mail by the Court’s CM/ECF System as
 listed on the Court’s Electronic Mail Notice List.

      I certify that a true and correct copy of the foregoing
 document was filed electronically with the United States
 Bankruptcy Court, and has been served by Regular United States
 Mail Service, first class, postage pre-paid, addressed to those
 parties listed on the Court’s Manual Notice List and listed
 below on January 2, 2019.

 David Noyce
 Attorney for Movant
 11111 Nall Avenue, Suite 104
 Leawood, KS 66211

                                           /s/Robert E. Faerber
